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                         IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     WPENGINE, INC., a Delaware corporation,      Case No. 3:24-cv-06917-AMO
11
                  Plaintiff,                      [PROPOSED] ORDER GRANTING
12                                                PLAINTIFF WPENGINE, INC.’S
           vs.                                    ADMINISTRATIVE MOTION FOR AN
13
                                                  ORDER TO SHORTEN TIME TO HEAR
14 AUTOMATTIC INC., a Delaware                    MOTION FOR A PRELIMINARY
   corporation; and MATTHEW CHARLES               INJUNCTION
15 MULLENWEG, an individual,                                  *As Modified*
                                                  Judge:   Hon. Araceli Martínez-Olguín
16                Defendants.                     Crtrm:   10 — 19th Floor
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                                              1                      Case No. 3:24-cv-06917-AMO
         [PROPOSED] ORDER GRANTING PLAINTIFF WPENGINE, INC.’S ADMINISTRATIVE MOTION FOR AN
                       ORDER TO SHORTEN TIME TO HEAR MOTION FOR A PRELIMINARY INJUNCTION
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 1         The Court, having considered WPEngine, Inc.’s (“WPE”) Administrative Motion for an

 2 Order to Shorten Time (“Motion”) as to a hearing on WPE’s Motion for a Preliminary Injunction

 3 (the “PI Motion”), Dkt. 17, and good cause appearing therefore, hereby GRANTS the Motion and

 4 ORDERS as follows:

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 6         1.     Defendants’ Opposition to the PI Motion shall be filed on or before

 7                October 30, 2024;

 8         2.     Plaintiff’s Reply shall be filed on or before November 4, 2024;

 9         3.     The PI Motion is hereby set for hearing on November       26      , 2024, at 10:30 a.m.
                  in Courtroom 3, 3rd Floor of the Oakland courthouse.
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11         IT IS SO ORDERED.
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13 Dated: October____,
                  23 2024

14                                                Hon. Araceli Martínez-Olguín
15                                                UNITED STATED DISTRICT JUDGE

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                                             -2-                    Case No. 3:24-cv-06917-AMO
        [PROPOSED] ORDER GRANTING PLAINTIFF WPENGINE, INC.’S ADMINISTRATIVE MOTION FOR AN
                      ORDER TO SHORTEN TIME TO HEAR MOTION FOR A PRELIMINARY INJUNCTION
